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                                                                                                       COM BINED COURTS

      D  Small Claims D County Court                              0     District Court
      D  Probate Court D Juvenile Court                            D    Water Court
      we1d County, Colorado
      Court Address: 901 9th Ave
                     Greeley, co 80631

      [Insert appropriate party designations & names]
        Plaintii'~ Ethel Susanne Halter

        V.


        Defendant: Weld County Sheriff's Office

                                                                                                              •      COURT USE ONLY   •
      Attorney or Party Without Attorney: (Name & Address)                                                   Case Number:
      Ethel susanne Halter
      7200 E State Highway 14 Lot 5
      Fort Collins, CO 80524
                                                                                                             ol tJ/9e cJ </f
      Phone Number: 970-988-()1104
                                                                                                             Div.:   f     Ctrm:
      FAX Number: NIA
      E-mail: suehalter®gmail.com
      A . Re . #: NIA
                                                                 COMPLAINT
    On the morning of September 7, 2017 the Plaintiff awoke to find her husband lying in the hallway of their mobile home unresponsive
    and not breathing. The Plaintiff immediately called 911 to request an ambulance and directions on how to perform CPR. First
    responders began to arrive entering through the front door of the Plaintiffs mobile home while the Plaintiff was inside a few hundred
    yards away from the front entrance performing CPR. She could not see who was entering the home at that time. The Paramedics
    took over while the Plaintiff watched on. A Deputy was in the hallway next to the Plaintiff holding a hand written letter questioning her
    about it. She told him it was nothing, wondered where he had gotten it and why he was doing that but was in too much shock to
    question the Deputy as well as her only foCtJs being on her husband. The Paramedics then transferred the patient on to the living
    room floor where they continued working on him for approximately 40 minutes before pronouncing him dead. Right afterwards a
    Deputy asked the Plaintiff if he could search her home and the Plaintiff told him no. The Deputy then got another Deputy and told him
    to to escort the Plaintiff outside and guard her while they got a search warrant. Less than thirty minutes later the Deputy asked the
    Plaintiff if she was sure she didn't want to give them permission to search her home because they had just gotten a search warrant.
    The Plaintiff again told him no. Not at any point did the Plaintiff consent to a search of her home or anything else.
    While the two Deputies and EMS personal were illegally inside the home without the consent or the presence of the homeowner who was
    still being guarded outside by the female officer/employee additional vehicles and personal were showing up in great numbers all walking
    directly past the Plaintiff entering her home illegally. The Plaintiff was never given a warrant and to date has never received one.
    When the body was eventually brought outside the female guard asked the Plaintiff if she would like to see her husband's body, she said
    yes, the team carrying the body stopped, looked surprised, and then said that she would have to wait until after they got the body
    situated in the Coroner's vehicle. They had already deprived the Plaintiff her last few precious moments with her husband inside of their
    home whom she'd been married to for thirty years and she still didn't get to see him until days later at the funeral home. Ifs inportant to
    note that before walking the body out past the Plaintiff she was informed by the female guard that dead bodies inside of a bag make a lo!
    of really loud strange noises and that it was just the normal way dead bodies sound inside of a body bag and that she shouldn't be
    alarmed by all of the really odd loud noises. It was extremely obvious to the Plaintiff that they were hauling off with what sounded like
    half of all her household items rolling around with her husband's body inside of a body bag.

    Months after the death of her husband the Plaintiff became aware that she was being investigated by undercover police officers which in the
    mind of the Plaintiff was and still is a person who sold himself to her as her as her knight in shining armor promising her a fantastical new life
    filled with passionate love making, burning romance, fun, laughter, travel, new friends, new family, a new home, new cars, financial security
    with a new husband that loves her more than anything, who is just as smart and talented as her husband she'd just lost, that they'd be
    spending their days working, having fun together, making more money than she had ever seen, all while growing old together and living the
    rest of their lives in a real life fairy tale.
    Through out this magical relationship with this magical person and others who are not the people they pretend to be while in front of and
    while interacting with the Plaintiff she began noticing that a great deal of theft and property damage was going on inside and 'outside of her
    home. The Plaintiff began her own investigation into what was happening and to her and to her property and was able to determine these
    things were happening by the hands of the many undercover police agents involved in this investigaion . After sending a letter of demand for
    payment to the Weld County Sheriffs Office the police misconduct start~d back \JP.
    The police would try and have me believe that their undercover agent who I'm supposed to be getting married to is really just some bum with a
                                                                    Exhibit A
,.      Case 1:19-cv-02871-SKC Document 1-1 Filed 10/08/19 USDC Colorado Page 2 of 2




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                                                                                                                COMBI NED COURTS
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       Court Address: 90l 9th Ave
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       [Insert appropriate party designations & names]
         Plaintiff: Ethel SUsanne Halter

         V.


         Defendant: Weld County Sheriff 's Office




       Attorney or Party Without Attorney: (Name & Address)
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       Ethel SUsanne Halter
       7200 E State High way l 4 Lot 5
       Fort Collins, CO 80524


       Phone Number: 970-988-0404                                                                     Div.:                Ctrm:
       FAX Number: NI A
       E-mail: suehalter@gmail.com
       Atty. ReQ. # : NIA
                                                                   COMPLAINT
     lengthy police record who keeps getting hauled off to jail, now prison and afterward to a halfway house au while putting a plan into
     place guaranteeing that the Plaintiff will not be able to visit him this time around while he's supposedly doing time in a prison in Rifle
     Colorado called Rifle Correctional Facility which in reality is just what he tells the Plaintiff and in reality is probably either on another
     undercover police assignment or perhaps taking some time off to be with his real loved ones somewhere enjoying life while the
     Plaintiff sits in her home miserable, lost and lonely waiting for him to come back to her so they can get marred and be together
     forever which in reality is never going to happen, it's just the lie he keeps telling her in hopes she'll believe him one day fearful she'll
     expose him and everyone else invloved and or attached to this investigation, to the world letting everyone know about their gross
     misconduct, lies, and brutality.

     The Plaintiff demands $40,350.00 in damages and theft to and of her property. Further, because of the great pain and suffering the Plaintiff
     demands $150,000.00 as compensation from the parties responsible for authorizing and or launching this massive large scale undercover
     investigation into the Plaintiffs's life.




                                                                       Exhibit A
